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Exhibit 1
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THE SECRETARY OF TRANSPORTATION
WASHINGTON, DC 20590

February 19, 2025

The Honorable Kathy Hochul
Governor of New York
Albany, NY 12224

Dear Governor Hochul:

I am writing to you concerning the Federal Highway Administration’s (FHWA) approval of the
Central Business District (CBD) Tolling Program (CBDTP), which is a pilot project under the
Value Pricing Pilot Program (VPPP). The FHWA implements VPPP on behalf of the Secretary
of Transportation pursuant to a delegation of authority. On November 21, 2024, FHWA and the
New York State Department of Transportation (NYSDOT) executed an agreement (November 21
Agreement) approving the CBDTP pilot project under VPPP. The VPPP is an exception to the
general rule prohibiting tolling on highways. Congress approved the VPPP exception in 1991 as
a pilot to test congestion reduction techniques. New York State is one of 15 States authorized to
implement the program.

Pursuant to the November 21 Agreement, FHWA approved NYSDOT’s implementation of
CBDTP as a pilot project under VPPP. Under the pilot project, NYSDOT and its project
sponsors, Triborough Bridge and Tunnel Authority (TBTA) and New York City Department of
Transportation (NYCDOT), were authorized to implement a method of congestion pricing
known as “cordon pricing,” under which certain vehicles are charged tolls upon entry into
Manhattan south of and inclusive of 60th Street. The imposition of tolls under the CBDTP pilot
project by NYSDOT and its project sponsors became operational on

January 5, 2025.

President Trump recently took office on January 20, 2025. I was nominated by the President to
be the Secretary of Transportation, confirmed by the Senate on January 28, 2025, and sworn into
office on January 29, 2025. Upon assuming my responsibilities, President Trump asked me to
review FHWA’s approval of CBDTP as a pilot project under VPPP. In particular, the President
expressed his concerns about the extent of the tolling that was approved by the Department of
Transportation on highways that have been constructed with funds under the Federal-aid
Highway Program and the significant burdens on the New York City residents, businesses, and
area commuters (including those from New Jersey and Connecticut) who regularly use the
highway network in the CBD tolling area.
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As Secretary of Transportation, I am aware of many concerns regarding the CBDTP pilot project.
For example, in a January 20, 2025, letter to President Trump, which I reviewed, New Jersey
Governor Murphy expressed significant concerns about the impacts that the imposition of tolls
under the CBDTP pilot project is having on New Jersey commuters and residents. Also, in a
January 20, 2025, letter to me, New Jersey Department of Transportation Commissioner
O’Connor also expressed many concerns regarding the impacts of the CBDTP pilot project to
New Jersey communities. Additionally, I have been made aware that legal challenges are
pending regarding the project, which question whether the scope of the project exceeds the
authority of VPPP.

I share the President’s concerns about the impacts to working class Americans who now have an
additional financial burden to account for in their daily lives. Users of the highway network
within the CBD tolling area have already financed the construction and improvement of these
highways through the payment of gas taxes and other taxes. The recent imposition of this
CBDTP pilot project upon residents, businesses, and commuters left highway users without any
free highway alternative on which to travel within the relevant area. Moreover, the revenues
generated under this pilot program are directed toward the transit system as opposed to the
highways. I do not believe that this is a fair deal.

In light of the President’s concerns about the CBDTP pilot project, the legal challenges that have
been made, as well as the concerns expressed by New Jersey Governor Murphy and New Jersey
Commissioner O’Connor, I reviewed the tolling authority granted under VPPP to the CBDTP
pilot project for compliance with Federal law. For the reasons explained below, I have concluded
that the scope of this pilot project as approved exceeds the authority authorized by Congress
under VPPP.

The construction of Federal-aid highways as a toll-free highway system has long been one of the
most basic and fundamental tenets of the Federal-aid Highway Program. Ever since the
enactment of the Federal-Aid Road Act of 1916, Congress has required that roads constructed
with Federal-aid highway funds be free from tolls of all kinds, subject to limited exceptions. See
Public Law 64-154, § 1, 39 Stat. 355 (1916). This general requirement was codified at 23 U.S.C.
§ 301 under Pub. L. No. 85-767, 72 Stat. 885 (1958), and remains the law today. Specifically,
this statute currently reads as follows:

Except as provided in section 129 of this title with respect to certain toll bridges
and toll tunnels, all highways constructed under the provisions of this title shall be
free from tolls of all kinds.

In 1991, Congress created a limited exception to the tolling prohibition for “congestion pricing
pilot projects” implemented by States, local governments, or public authorities. Intermodal
Surface Transportation Efficiency Act of 1991, § 1012(b), Pub. L. No. 102-240. Congress did
not define “congestion pricing pilot project.” Congress later amended the statute to replace
“congesting pricing pilot projects” with “value pricing pilot programs,” but it again did not
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define this term. Transportation Equity Act of the 21st Century, § 1216(a), Pub. L. No. 105-178
(1998). The long-standing history of the anti-tolling provision requires me to narrowly construe
this exception.

I have concluded that CBDTP is not an eligible “value pricing pilot program,” for two reasons.

First, CBDTP uses a method of tolling known as “cordon pricing,” under which drivers who
enter Manhattan south of 60th Street are charged tolls no matter what roads they use. Unlike
other forms of tolling, the CBDTP’s cordon pricing program provides no toll-free option for
many drivers who want or need to travel by vehicle in this major urbanized area. Congress in a
separate statutory provision has authorized cordon pricing on the /nterstate System where drivers
can choose a non-Interstate route. See 23 U.S.C. § 129(d)(4)(B), (6)(A). But no statute
contemplates cordon pricing in a situation where tolls are inescapable, and FHWA has never
before approved a VPPP program that uses cordon pricing or that does not provide a toll-free
option. I have concluded that Congress did not, in using the vague phrase “value pricing pilot
program,” authorize the unprecedented and consequential step of cordon pricing. Indeed, the
Town of Hempstead and its supervisor have sued FHWA, TBTA, and NYSDOT making this
argument, and I believe that FHWA faces a significant risk of loss in that litigation. See Town of
Hempstead v. DOT, No. 24-cv-3263 (E.D.N.Y.).

Second, the imposition of tolls under the CBDTP pilot project appears to be driven primarily by
the need to raise revenue for the Metropolitan Transit Authority (MTA) system as opposed to the
need to reduce congestion. I recognize that preliminary project data published by the MTA
reports a congestion reduction benefit, but the toll rate that is set under VPPP should not be
driven primarily by revenue targets, particularly revenue targets that have nothing to do with the
highway infrastructure. While revenue generation is a necessary outcome of any congestion
pricing scheme and specifically allowable under the VPPP statute, the primary consideration of
the toll rates here is to raise revenue for an MTA capital program. This revenue target for MTA
projects artificially drives the establishment of toll rates to the highway users rather than the
price needed to reduce congestion. As a result, highway users of the Federal-aid highway
network within the priced zone are burdened with a price that is set to raise certain amounts of
revenue for MTA capital projects rather than a price that is necessary to have an impact on
congestion. Even if improving the transit system may eventually affect roadway congestion,
there is no indication that the tolls were set in order to achieve these attenuated effects. I have
concluded that VPPP does not authorize tolls that are calculated based on considerations separate
from reducing congestion or advancing other road-related goals.

Federal-aid infrastructure projects must be carried out in compliance with Federal law. Due to
my conclusion that FHWA lacked statutory authority to approve the cordon pricing tolling under
the CBDTP pilot project, I am rescinding FHWA’s approval of the CBDTP pilot project under the
November 21 Agreement and terminating the Agreement. I recognize that FHWA under the prior
Administration concluded, when executing the November 21 Agreement, that the CBDTP was
eligible for approval under VPPP, and that my determination represents a change in position.
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FHWA, however, did not explain the basis for its conclusion, and nothing in the prior approval
undermines the above analysis upon which my determination is based.

I recognize, moreover, that TBTA and NYSDOT have relied on the Agreement to begin
collecting tolls under the program, but I have concluded that such reliance should not prevent the
termination of the November 21 Agreement. While the TBTA and NYSDOT have incurred costs
related to the program, many of those costs were incurred before FHWA signed the Agreement,
and FHWA is not aware of any substantial costs associated with the physical stopping of the
program. To be sure, the termination of the program may deprive the transit system of funding,
but any reliance on that funding stream was not reasonable given that FHWA approved only a
“pilot project.” Finally, any reliance interests cannot overcome the conclusion that FHWA’s
approval was not authorized by law.

The FHWA will contact NYSDOT and its project sponsors to discuss the orderly cessation of toll
operations under this terminated pilot project.

Sincerely,

CC:

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Marie Therese Dominquez, Esq. NYSDOT Commissioner
Catherine T. Sheridan, President of TBTA
Ydanis Rodriguez, NYCDOT Commissioner

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